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 4
     Attorney for Defendant
 5   ARACELI MENDOZA
 6

 7
                            IN THE UNITED STATES DISTRICT COURT
 8

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                      SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA                    Case Number: CR-19-CR-275-BLF

13           Plaintiff,                          DEFENDANT ARACELI MENDOZA’S
                                                 SENTENCING MEMORANDUM
14   vs.

15   ARACELI MENDOZA,                              Date: September 27, 2022
16                                                 Time: 9:00 a.m.
                   Defendant.
17

18                 COMES NOW defendant Araceli Mendoza, by and through her lawyer Wm.

19   Michael Whelan, Jr., and offers this sentencing memorandum requesting that this Court
20
     follow the government and U.S. Probation Department’s recommendation of the
21
     mandatory minimum of 10 years in federal prison. Such a sentence, although far greater
22

23   than necessary for public safety, punishment, and accountability, is mandatory and

24   certainly sufficient to achieve the goals of federal sentencing.
25
            Ms. Mendoza also respectfully requests that the Court recommend to B.O.P. that
26
     she be specially designated to Dublin F.C.I. which will make it possible for her two young
27

28   boys regularly visit her. Here second and third choices would be San Diego MCC and Los
                                                  -1-
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                                                           1   Angeles MDC respectively. In addition, if the Court denies her motion to stay judgment
                                                           2
                                                               and request for release pending appeal, Ms. Mendoza requests, and the government and
                                                           3
                                                               U.S. Probation do not oppose, that she be allowed to voluntarily surrender. Ms.
                                                           4

                                                           5   Mendoza’s security classification will be lower if the Court permits her to voluntarily

                                                           6   surrender.
                                                           7
                                                                      Ms. Mendoza offers three support letters, attached as Exhibit A, for the Court’s
                                                           8
                                                               consideration.
                                                           9

                                                          10                          Unresolved Responses/Objections in the PSR

                                                          11          Ms. Mendoza objects to the two-level upward Adjustment for Obstruction of
                                                          12
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                                                               Justice at ¶76 alleging that Ms. Mendoza committed perjury on the stand because she
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                                                          13
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                                                               gave inconsistent testimony with her Orange County proffer session statements. The trial
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                                                          14

                                                          15   testimony of JV, JB, and Ms. Contreras revealed multiple inconsistencies and prior

                                                          16   inconsistent statements, yet the PSR does not allege that any of them committed perjury.
                                                          17
                                                               We do not know what testimony the jury believed and did not believe; we do know that
                                                          18
                                                               they convicted Ms. Mendoza on two counts only, acquitting her of trafficking JV, and
                                                          19

                                                          20   hopelessly hung on whether or not Ms. Mendoza trafficked JB. Two charged women

                                                          21   defendants testified, Ms. Contreras and Ms. Mendoza. Both were victimized severely by
                                                          22
                                                               Mr. Cuellar; both had inconsistent memories and testimony; if one of them (Ms.
                                                          23
                                                               Mendoza) committed perjury, so did Ms. Contreras.
                                                          24

                                                          25          Ms. Mendoza also objects to the PSR’s failure, at ¶83 (and explained at page 29 or

                                                          26   41 ¶4) to apply a two-level downward adjustment for Acceptance of Responsibility.
                                                          27
                                                               Ms. Mendoza specifically and compellingly agreed to cooperate with both Orange County
                                                          28
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                                                                                    ARACELI MENDOZA’S SENTENCING MEMORANDUM
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                                                           1   and federal prosecutors to testify in both proceedings against her co-defendants, and she
                                                           2
                                                               fully took responsibility for her conduct in Southern and Northern California during her
                                                           3
                                                               proffer session there. In asserting her coercion defense, she did not deny taking
                                                           4

                                                           5   responsibility, she asserted a legal excuse, coercion. In United States v. Johnson, 956 F.2d

                                                           6   894 (9th Cir. 1992), the Court acknowledged “the rule that a defendant may not be
                                                           7
                                                               penalized for exercising a constitutional right.” Id. at 904. In United States v. Sitton, 968
                                                           8
                                                               F.2d 947 (9th Cir. 1992), the Court stated that a sentencing court “may not consider
                                                           9

                                                          10   against the defendant any constitutionally protected conduct,” stated that the court “may

                                                          11   not deny the reduction because of that choice,” and remanded for reconsideration because
                                                          12
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                                                               it appeared the district court might have violated these principles. Id. at 962. In United
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                                                               States v. McKinney, 15 F.3d 849 (9th Cir. 1994), the court stated: “Were a
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                                                          14

                                                          15   defendant required to plead guilty to be entitled to the reduction, the sentencing guidelines

                                                          16   would penalize the exercise of a constitutional right.” Id. at 852 (emphasis in original).
                                                          17
                                                               Also, the 9th Circuit noted in United States v. Cortes, 299 F.3d 1030 (9th Cir. 2002) the
                                                          18
                                                               the district court appeared to have believed that a defendant who went to trial was
                                                          19

                                                          20   ineligible for the acceptance of responsibility reduction as a matter of law. The Court held

                                                          21   that “employing such a per se bar to the acceptance of responsibility reduction would have
                                                          22
                                                               impermissibly penalized Cortes for exercising his constitutional rights.” Id. at 1039. See
                                                          23
                                                               also United States v. Dhingra, 371 F.3d 557, 568 (9th Cir. 2004) (“It is well settled that a
                                                          24

                                                          25   defendant who exercises his constitutional right to trial does not automatically forfeit the

                                                          26   benefit of the adjustment for acceptance of responsibility.”).
                                                          27

                                                          28
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                                                                                    ARACELI MENDOZA’S SENTENCING MEMORANDUM
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                                                           1          The Ninth Circuit has also applied this principle to defendants who testify at trial in
                                                           2
                                                               in support of an affirmative defense. United States v. Ing, 70 F.3d 553 (9th Cir. 1995)
                                                           3
                                                               held that the district court erred in denying credit for acceptance of responsibility because
                                                           4

                                                           5   the PSR claimed that the defendant denied criminal intent. Id. at 556. The Ninth Circuit

                                                           6   held that this was error, because “the defense of entrapment by its very nature entails an
                                                           7
                                                               admission regarding the defendant’s participation in criminal activity.” Id. The court has
                                                           8
                                                               similarly indicated that there may be acceptance of responsibility when the affirmative
                                                           9

                                                          10   defense of duress is raised in a defendant’s testimony, see United States v. Gamboa-

                                                          11   Cardenas, 508 F.3d 491, 505-06 (9th Cir. 2007).
                                                          12
                                                                      Lastly, although somewhat moot given Probation and the government’s
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                                                               recommendation for a sentence nothing greater than the mandatory minimum, Ms.
                                   (650) 319-5554




                                                          14

                                                          15   Mendoza objects to the inclusion in the PSR of acquitted and dismissed conduct of JV and

                                                          16   JV. In Jones v. United States, 574 U.S. 948 (2014), Justice Scalia, joined by Justice
                                                          17
                                                               Ginsburg and Justice Thomas, observed in his dissent that the Sixth Amendment, together
                                                          18
                                                               with the Fifth Amendment’s Due Process Clause, requires that each element of a crime be
                                                          19

                                                          20   either admitted by the defendant, or proved to the jury beyond a reasonable doubt. Any

                                                          21   fact that increases the penalty to which a defendant is exposed constitutes an element of a
                                                          22
                                                               crime and must be found by a jury, not a judge.
                                                          23
                                                                                                     3553(a) Factors
                                                          24

                                                          25          Although the PSR acknowledges numerous mitigating factors for the Court to

                                                          26   consider at sentencing, Ms. Mendoza would like to remind the Court of the following:
                                                          27
                                                                      Childhood and Young Adult Abuse History: Ms. Mendoza’s extensive and
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                                                                                                           -4-
                                                                                    ARACELI MENDOZA’S SENTENCING MEMORANDUM
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                                                           1   sever emotional, physical, and sexual abuse during childhood, and during the conspiracy
                                                           2
                                                               at the hands of Cuellar, were well documented before and at trial. As testified to by
                                                           3
                                                               defense expert Dr. Charles Flinton, Ms. Mendoza’s history resulted in impaired mental
                                                           4

                                                           5   and emotional capacities, especially decision-making and vulnerability to coercion. See

                                                           6   United States v. Ferguson, 942 F. Supp.2d 1186, 1194 (diminished capacity from PTSD
                                                           7
                                                               and other disorders can be a 3553(a) mitigating factor); United States v. Rivera, 192 F.3d
                                                           8
                                                               81, 84 (2nd Cir. 1999); United States v. Walter, 256 F.3d 891 (9th Cir. 2001) [discussing
                                                           9

                                                          10   diminished capacity under USSG §5K2.13].

                                                          11          Coercion: Ms. Mendoza committed the offenses due to serious physical violence,
                                                          12
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                                                               threats of violence, and multiple non-physical forms of manipulation and coercion by lead
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                                                               defendant Cuellar. Although the jury did not unanimously agree that these amounted to a
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                                                          14

                                                          15   complete defense, Ms. Mendoza qualifies pursuant to USSG §5K2.12 for a downward

                                                          16   departure.
                                                          17
                                                                      Cooperation: Ms. Mendoza fully and completely cooperated with Orange County
                                                          18
                                                               state prosecutors and the federal prosecutors in an extensive proffer session in 2017. She
                                                          19

                                                          20   fully and completely disclosed her role and the roles of others in the offenses in Southern

                                                          21   and Northern California. She agreed to testify if asked to in either proceeding. Shortly
                                                          22
                                                               thereafter, knowing that Ms. Mendoza had agreed to testify against him, Cuellar settled
                                                          23
                                                               his Orange County case for a 32-year sentence in state prison. Because of her compelling
                                                          24

                                                          25   cooperation, the OC prosecutor named her as a victim of Cuellar and gave Ms. Mendoza a

                                                          26   non-strike, non-sex registerable plea offer in exchange for credit for time served and
                                                          27
                                                               probation. The NDCA U.S. Attorney’s Office has never recognized Ms. Mendoza’s
                                                          28
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                                                                                    ARACELI MENDOZA’S SENTENCING MEMORANDUM
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                                                           1   dramatic role in agreeing to cooperate and causing Cuellar to plead guilty and accept a
                                                           2
                                                               sever state prison sentence. See United States v. Robinson, 741 F.3d 588, 599 (5th Cir.
                                                           3
                                                               2014); United States v. Truman, 304 F.3d 586 (6th Cir. 2002); USSG 5K2.0; Also see
                                                           4

                                                           5   United States v. Dowdell, 396 F.App’x 16 (4th Cir. 2009).

                                                           6           Post-offense and Post-conviction Rehabilitation: Since Ms. Mendoza’s release
                                                           7
                                                               from custody in Orange County then NDCA in the Summer of 2017, she has been on an
                                                           8
                                                               ankle monitor with perfect compliance; she has been gainfully employed and drug free,
                                                           9

                                                          10   and she has regained custody of her two sons whom she cares for exclusively. Ms.

                                                          11   Mendoza has demonstrated complete rehabilitation over the last 5 years. See Pepper v.
                                                          12
                                                               United States, 562 U.S. 476 (2011); United States v. Martin, 520 F.3d 87 (1st Cir. 2008).
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                                                                       Youth and Immaturity: Ms. Mendoza had recently turned 22 years old when she
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                                                          14

                                                          15   was recruited, enticed by, and brutally victimized by Mr. Cuellar. See Roper v. Simmons

                                                          16   (2005) 543 U.S. 551, 568-575; Gall v. United States, 552 U.S. 38, 48-50, 58 (2007);
                                                          17
                                                               Graham v. Florida (2010) 560 U.S. 825; J.D.B. v. North Carolina (2011) 564 U.S. 261,
                                                          18
                                                               131 S.Ct. 2394, 2403; and Miller v. Alabama (2012) 567 U.S. 460, 465, 132 S.Ct. 2455,
                                                          19

                                                          20   2460.

                                                          21           The trial evidence of Ms. Mendoza’s immaturity and susceptibility to manipulation
                                                          22
                                                               and coercion (especially non-physical forms of coercion that the Court refused to allow
                                                          23
                                                               the jury to consider) was overwhelming.
                                                          24

                                                          25           USSG §5G1.3 note 5: Ms. Mendoza’s Orange County conviction and offense

                                                          26   conduct constitutes subsequent relevant conduct to the previous-in-time captioned federal
                                                          27
                                                               case offense conduct. She served 430 actual days imprisonment in county jail there and an
                                                          28
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                                                                                    ARACELI MENDOZA’S SENTENCING MEMORANDUM
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                                                           1   additional 18 days in federal custody before her pretrial release. USSG §5G1.3 note 5
                                                           2
                                                               allows for a downward adjustment if that completed OC term of imprisonment had been
                                                           3
                                                               undischarged at the time of sentencing (had it occurred earlier). Consequently, Ms.
                                                           4

                                                           5   Mendoza respectfully requests that the Court recommend that BOP award 448 days credit

                                                           6   for time served to Ms. Mendoza.
                                                           7
                                                                                                       Conclusion
                                                           8
                                                                      Ms. Mendoza requests that the Court impose the minimum possible under federal
                                                           9

                                                          10   law, and that the Court recommend to BOP designation to FCI Dublin and award 448 days

                                                          11   credit for time served. And if the Court declines Ms. Mendoza’ request to stay judgment
                                                          12
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                                                               and release her on appeal, she respectfully requests that the Court allow her to voluntarily
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                                                               surrender.
                                   (650) 319-5554




                                                          14

                                                          15                                             Respectfully submitted,

                                                          16
                                                               Dated: September 18, 2022                 _________/s/__________________
                                                          17                                             WM. MICHAEL WHELAN, JR.
                                                                                                         Attorney for Defendant Araceli Mendoza
                                                          18

                                                          19

                                                          20
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                                                          21

                                                          22                                  EXHIBIT A
                                                          23                                      TO
                                                          24                     DEFENDANT ARACELI MENDOZA’S
                                                                                   SENTENCING MEMORANDUM
                                                          25

                                                          26

                                                          27

                                                          28
                                                                                                  -8-
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To Whom it May Concern,



Over the past few months, I had the pleasure of working with Araceli Mendoza at Veritas Accounting.
Araceli was a payroll specialist on my team.

While on my team, I got to know Araceli on a professional and personal level. She was reliable, hard-
working and a great asset to our team. She always had a positive attitude and was willing to help the
team in whatever way she could.

It is my understanding that Araceli’s character is in question. I can say with confidence that I never once
questioned her character or trustworthiness while she worked with me. She always handled sensitive
information carefully and showed integrity in all that she did.

Personally, I believe Araceli has a huge heart. She always talked of the love she has for her two boys and
her husband, and I could tell she would do anything for them. Araceli shared some of her tragic past
with me and It’s hard for me to fathom how someone could be subjected to so many horrible things and
still have such a loving heart; but she is a great example of what grace can do for a person. I know her
faith has lifted her out of some dark places, and I pray that she gets a second chance to live a life that
her and her family can be proud of. I accompanied Araceli to church recently and have heard her
testimony about how much she has changed her life around in the past few years. She truly is inspiring.
Araceli has touched my heart and I hope she gets the chance to share her faith and inspire many more.



Thank you for your time.



Vanessa Rodriguez
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